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                        United States District Court
                        Eastern District of California
                                         Redding Branch


UNITED STATES OF AMERICA )                            VIOLATEICASE NO. Oq-rn ;- WS-q C f l k

                 VS.                                  ORDER TO APPEAR




       YOU ARE HEREBY ORDERED to appear before a United States Magistrate Judge in

Sacramento, California, at 5 10 1 Street, in the Magistrate Courtroom on   1 2 - ( b-0 4 3 PY);)
                                                                            -             .


at 2:00 p.m., for further proceedings in the above entitled case.

       YOU ARE FURTHERNOTIFIEDthat if you fail to appear on the above date, that a warrant

may be issued for your arrest.

       Dated:    1 \ - 1-7-




           FILED
              NOV 1 7 2009
